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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10      JAMES R. MEDICRAFT,
                                                            CASE NO. 2:20-cv-01145-JCC-JRC
11                             Plaintiff,
                                                            ORDER REGARDING
12              v.                                          ELECTRONICALLY STORED
                                                            INFORMATION
13      DEREK P. LEUZZI, et al.,

14                             Defendants.

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16          This matter is before the Court on the parties’ proposed order regarding electronically

17   stored information (“ESI”). Dkt. 13. After identifying significant departures from the Court’s

18   model ESI order, the undersigned provided the parties with the version of the parties’ ESI

19   agreement that the undersigned intended to adopt. Dkt. 15. The parties were given until January

20   8, 2021, to inform the Court whether they objected to the modified ESI order.

21          No party has objected to the ESI Order, as amended by the undersigned. Defendants

22   have filed a notice of no objection. See Dkt. 16. Plaintiff informed the Court on December 31,

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 1   2020, that he had no objection, either, although plaintiff did not file any notice of no objection in

 2   the case.

 3           Therefore, the Court adopts the ESI order set forth below.

 4               ORDER REGARDING ELECTRONICALLY STORED INFORMATION

 5           Plaintiff James Medicraft, pro se, and Defendants, by and through their counsel of

 6   record, stipulated to certain provisions regarding the discovery of electronically stored

 7   information (“ESI”) in this matter. The Court adopts most of the stipulated agreement, but with

 8   modifications as set forth below:

 9           A.      General Principles

10                   1.      An attorney’s zealous representation of a client is not compromised by

11   conducting discovery in a cooperative manner. The failure of counsel or the parties to litigation

12   to cooperate in facilitating and reasonably limiting discovery requests and responses raises

13   litigation costs and contributes to the risk of sanctions.

14                   2.      The proportionality standard set forth in Fed. R. Civ. P. 26(b)(2)(C) must

15   be applied in each case when formulating a discovery plan. To further the application of the

16   proportionality standard in discovery, requests for production of ESI and related responses should

17   be reasonably targeted, clear, and as specific as possible.

18           B.      ESI Disclosures

19                   Within 30 days after the Court rules on Defendants’ Motion for Partial Dismissal,

20   or at an earlier time if agreed to by the parties, each party shall disclose:

21                   1.      Custodians. The five custodians most likely to have discoverable ESI in

22   their possession, custody, or control. The custodians shall be identified by name, title, connection

23   to the instant litigation, and the type of the information under his/her control.

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 1                  2.      Non-custodial Data Sources. A list of non-custodial data sources (e.g.,

 2   shared drives, servers), if any, likely to contain discoverable ESI.

 3                  3.      Third-Party Data Sources. A list of third-party data sources, if any, likely

 4   to contain discoverable ESI (e.g., third-party email and/or mobile device providers, “cloud”

 5   storage, etc.) and, for each such source, the extent to which a party is (or is not) able to preserve

 6   information stored in the third-party data source.

 7                  4.      Inaccessible Data. A list of data sources, if any, likely to contain

 8   discoverable ESI (by type, date, custodian, electronic system, or other criteria sufficient to

 9   specifically identify the data source) that a party asserts is not reasonably accessible under Fed.

10   R. Civ. P. 26(b)(2)(C)(i).

11          C.      Preservation of ESI

12          The parties hereto acknowledge that they have a common law obligation, as expressed in

13   Fed. R. Civ. P. 37(e), to take reasonable and proportional steps to preserve discoverable

14   information in the party’s possession, custody, or control. With respect to preservation of ESI,

15   the parties agree as follows:

16                  1.      Absent a showing of good cause by the requesting party, the parties shall

17   not be required to modify the procedures used by them in the ordinary course of business to back-

18   up and archive data; provided, however, that the parties shall preserve all discoverable ESI in

19   their possession, custody, or control.

20                  2.      All parties shall supplement their disclosures in accordance with Fed. R.

21   Civ. P. 26(e) with discoverable ESI responsive to a particular discovery request or mandatory

22   disclosure where that data is created after a disclosure or response is made (unless excluded under

23   (C)(3) or (D)(1)-(2) below).

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 1                  3.     Absent a showing of good cause by the requesting party, the following

 2   categories of ESI need not be preserved:

 3                  a.     Deleted, slack, fragmented, or other data only accessible by forensics.

 4                  b.     Random access memory (RAM), temporary files, or other ephemeral data

 5                         that are difficult to preserve without disabling the operating system.

 6                  c.     On-line access data such as temporary internet files, history, cache,

 7                         cookies, and the like.

 8                  d.     Data in metadata fields that are frequently updated automatically, such as

 9                         last-opened dates (see also Section (E)(5)).

10                  e.     Back-up data that are duplicative of data that are more accessible

11                         elsewhere.

12                  f.     Server, system or network logs.

13                  g.     Data remaining from systems no longer in use that is unintelligible on the

14                         systems in use.

15                  h.     Electronic data (e.g., email, calendars, contact data, and notes) sent to or

16                         from mobile devices (e.g., iPhone, iPad, Android, and Blackberry

17                         devices), provided that a copy of all such electronic data is automatically

18                         saved in real time elsewhere (such as on a server, laptop, desktop

19                         computer, or “cloud” storage).

20          D.      Privilege

21                  1.     A producing party shall create a privilege log of all documents fully

22   withheld from production on the basis of a privilege or protection, unless otherwise agreed or

23   excepted by this Agreement and Order. Privilege logs shall include a unique identification number

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 1   for each document and the basis for the claim (attorney-client privileged or work-product

 2   protection). For ESI, the privilege log may be generated using available metadata, including

 3   author/recipient or to/from/cc/bcc names; the subject matter or title; and date created. Should the

 4   available metadata provide insufficient information for the purpose of evaluating the privilege

 5   claim asserted, the producing party shall include such additional information as required by the

 6   Federal Rules of Civil Procedure. Privilege logs will be produced to all other parties [no later than

 7   30 days before the deadline for filing motions related to discovery] unless an earlier deadline is

 8   agreed to by the parties.

 9                  2.      Redactions need not be logged so long as the basis for the redaction is clear

10   on the redacted document.

11                  3.      With respect to privileged or work-product information generated after the

12   filing of the complaint, parties are not required to include any such information in privilege logs.

13                  4.      Activities undertaken in compliance with the duty to preserve information

14   are protected from disclosure and discovery under Fed. R. Civ. P. 26(b)(3)(A) and (B).

15                  5.      Pursuant to Fed. R. Evid. 502(d), the production of any documents in this

16   proceeding shall not, for the purposes of this proceeding or any other federal or state proceeding,

17   constitute a waiver by the producing party of any privilege applicable to those documents,

18   including the attorney-client privilege, attorney work-product protection, or any other privilege

19   or protection recognized by law. Information produced in discovery that is protected as privileged

20   or work product shall be immediately returned to the producing party, and its production shall not

21   constitute a waiver of such protection if: (i) such information appears on its face to have been

22   inadvertently produced; or (ii) the producing party provides notice within 15 days of discovery

23   by the producing party of the inadvertent production.

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 1          E.      ESI Discovery Procedures

 2                  1.     On-site inspection of electronic media. Such an inspection shall not be

 3   required absent a demonstration by the requesting party of specific need and good cause or by

 4   agreement of the parties.

 5                  2.     Search methodology. The parties shall timely attempt to reach agreement

 6   on appropriate search terms, or an appropriate computer- or technology-aided methodology,

 7   before any such effort is undertaken. The parties shall continue to cooperate in revising the

 8   appropriateness of the search terms or computer- or technology-aided methodology.

 9                  In the absence of agreement on appropriate search terms, or an appropriate

10   computer- or technology-aided methodology, the following procedures shall apply:

11                         a.      A producing party shall disclose the search terms or queries, if any,

12   and methodology that it proposes to use to locate ESI likely to contain discoverable information.

13   The parties shall meet and confer to attempt to reach an agreement on the producing party’s search

14   terms and/or other methodology.

15                         b.      If search terms or queries are used to locate ESI likely to contain

16   discoverable information, a requesting party is entitled to no more than 5 additional terms or

17   queries to be used in connection with further electronic searches absent a showing of good cause

18   or agreement of the parties. The 5 additional terms or queries, if any, must be provided by the

19   requesting party within 14 days of receipt of the producing party’s production.

20                          c.     Focused terms and queries should be employed; broad terms or

21   queries, such as product and company names, generally should be avoided. Absent a showing of

22   good cause, each search term or query returning more than 250 megabytes of data are presumed

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 1   to be overbroad, excluding Microsoft PowerPoint files, image and audio files, and similarly large

 2   file types.

 3                           d.     The producing party shall search both non-custodial data sources

 4   and ESI maintained by the custodians identified above.

 5                  3.      Format. The parties agree that ESI will be produced to the requesting party

 6   with searchable text, in a format to be decided between the parties. Acceptable formats include,

 7   but are not limited to, native files, multi-page TIFFs (with a companion OCR or extracted text

 8   file), single-page TIFFs (only with load files for e-discovery software that includes metadata

 9   fields identifying natural document breaks and also includes companion OCR and/or extracted

10   text files), and searchable PDF. Unless otherwise agreed to by the parties, files that are not easily

11   converted to image format, such as spreadsheet, database, and drawing files, should be produced

12   in native format.

13                  4.      De-duplication. The parties may de-duplicate their ESI production across

14   custodial and non-custodial data sources after disclosure to the requesting party.

15                  5.      Metadata fields. In the absence of good cause shown, the parties agree

16   metadata need not be disclosed. Upon a showing of good cause, or as otherwise ordered by the

17   Court, the parties agree only the following metadata fields need be produced: document type;

18   custodian and duplicate custodians; author/from; recipient/to, cc and bcc; title/subject; file name

19   and size; original file path; date and time created, sent, modified and/or received; and hash value.

20           Dated this 12th day of January, 2021.

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22                                                         A
                                                           J. Richard Creatura
23
                                                           United States Magistrate Judge
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